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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

MARICELA GARCIA                                §
                                               §
      Plaintiff,                               §
                                               §
vs.                                            §               CIVIL ACTION NO. 3:21-CV-256-KC
                                               §
BALFOUR BEATTY                                 §
COMMUNITIES, LLC                               §
                                               §
      Defendant.                               §

                   DEFENDANT’S EXPERT WITNESS DESIGNATION

        Defendant Balfour Beatty Communities, LLC designates the following expert witness:

            Michael J. DePonte
            JACKSON LEWIS P.C.
            500 N. Akard, Suite 2500
            Dallas, Texas 75201
            PH: (214) 520-2400
            FX: (214) 520-2008

        Mr. DePonte may testify regarding Plaintiff’s claims for attorneys’ fees and costs, if

necessary. He may be called to testify regarding attorneys’ fees and costs, including whether the

fees, costs and other expenses claimed are reasonable and necessary. His testimony will be based

on the number of hours reasonably expended in this case, as well as his knowledge, experience,

and familiarity with the rates charged in a case of this kind. He will also offer testimony as to the

costs and expenses incurred in this case. Factors to be considered will be the usual and customary

attorneys’ fees and costs for cases of this type, the amount in controversy and results sought, the

type and difficulty of legal questions involved, the time limitations imposed by the case, the

benefits derived, the experience, reputation, and ability of the attorneys providing services, the

time and labor required, and the skill required.       Mr. DePonte’s resume can be found at:

http://www.jacksonlewis.com/people/michael-j-deponte.



DEFENDANT’S EXPERT WITNESS DESIGNATION                                                             1
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                                                              Respectfully submitted,


                                                              /s/ Michael J. DePonte
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                                                              ATTORNEYS FOR
                                                              DEFENDANT


                                 CERTIFICATE OF SERVICE

         The undersigned certifies that a true and correct copy of this document was served upon

the all attorneys of record as to all parties to the above case pursuant to the Federal Rules of Civil

Procedure on April 25, 2022.



                                                       /s/ Michael J. DePonte
                                                       Michael J. DePonte
4887-0769-6157, v. 1




DEFENDANT’S EXPERT WITNESS DESIGNATION                                                              2
